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IN THE UNITED STATES DISTRICT COURT

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CLERK, U.S. I",-TSYHPC'T COURT

PHILLIP E. BoYNToN, et. al. =1:;,:;) {j;";‘i;,ir.i§%é?'r‘.§$

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Plaintiffs,

v. No. 02-1111 Ml/An

HEADWATERS, INc., et. al.

vv'_¢v§-rvvvh-r

Defendants.

 

ORDER DENYING CERTAIN MOTIONS AS MOOT

 

Before the Court are the following motions that relate to
Plaintiffs’ intent to call Mr. Larry Laycock, Esq., lead counsel
for Defendant Headwaters, lnc., as a witness at the trial of this
matter:

' Motion in Limine to Strike Headwaters’ Lead Counsel from
Plaintiffs’ Witness List and Preclude His Testimony at Trial
by Defendant Headwaters, Inc., filed on October 18, 2004.
(Docket No. 258.)

' Motion to Quash Subpoena of October l9, 2004, to Larry R.
Layoock by Defendant Headwaters, Inc., filed on November 3,
2004. (Docket No. 305.)

' Plaintiffs' Motion in Limine Requesting Special Jury

lnstruction, filed on October lB, 2004. (Docket No. 272.)

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' Plaintiffs’ Motion in Limine to Declare Larry Laycock a
“Missing Witness,” filed on October l5, 2004. (Docket No.
251.)

' Plaintiffs' Motion in Limine to Restrict Argument by
Opposinq Counsel, filed on October 18, 2004. (Docket No.
245.)

By letter to the Court on July 14, 2005, Defendant
Headwaters, Inc., indicated that Mr. Laycock will not argue to
the Jury or question witnesses in this matter and that it will no
longer contest Plaintiffs’ request to call Mr. Laycock as a
witness. Defendant Headwaters, Inc., also indicated that its
October 19 and November 4, 2004, motions were withdrawn.

Accordingly, the motions listed above are DENIED as moot.

So ORDERED this C? day of August, 2005.

 

  

U TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 374 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

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Honorable J on McCalla
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